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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


JOSE OROBIO JORI

                                                              Case No. 8:08-cr-47-T-24 EAJ
                                                                       8:13-cv-1000-T-24 EAJ
v.

UNITED STATES OF AMERICA

                                       /

                                             ORDER

       This cause comes before the Court on Petitioner’s motion to vacate, set aside, or correct

an allegedly illegal sentence pursuant to 28 U.S.C. § 2255. (CV Doc. No. 1; CR Doc. No. 92).

Because review of the motion and the file in the case conclusively show that Petitioner is not

entitled to relief, the Court will not cause notice thereof to be served upon the United States

Attorney but shall proceed to address the matter. 28 U.S.C. § 2255(b).

I. Background

       On March 17, 2008, Petitioner pled guilty, pursuant to a plea agreement, to Count One of

the Indictment, which charged him with conspiracy to possess with intent to distribute five

kilograms or more of cocaine while aboard a vessel subject to the jurisdiction of the United

States. (CR Doc. No. 24, 37). Petitioner did not contest the factual basis contained in the plea

agreement, which included the following:

               In January 2008, the defendant, his co-defendants, and others were
               knowing and willing participants in a maritime drug smuggling
               venture in the Eastern Pacific Ocean. While on routine patrol, USS
               SIMPSON'S helicopter, CUTLASS 461, came upon the defendants
               in a stateless go-fast vessel traveling at approximately thirty-five
               knots in international waters. Upon counter-detecting CUTLAS 461,
               the defendants jettisoned, among other things, more than eighty-nine
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               bales containing cocaine and increased speed to forty knots. The
               pilot and crew of CUTLAS 461 signaled for the go-fast vessel to
               stop. . . . The go-fast vessel finally stopped approximately sixty
               nautical miles southwest of Isla de Coiba, Panama.

(CR Doc. No. 24, p. 12-13).

       Petitioner was sentenced on June 19, 2008 to 120 months of imprisonment, and the

judgment was entered against Petitioner the same day. (CR Doc. No. 68, 69). Petitioner did not

appeal his conviction. Instead, he filed a motion to dismiss in March of 2013, in which he

appeared to rely on United States v. Bellaizac-Hurtado, 700 F.3d 1245 (11th Cir. 2012), to argue

that the Court lacked subject matter jurisdiction over him. (Doc. No. 87). This Court denied the

motion, because Petitioner did not contest the factual basis of his plea agreement that he was in

international waters and was stopped approximately sixty nautical miles southwest of Isla de

Coiba, Panama. (Doc. No. 91). Petitioner raises the same issue in his untimely § 2255 motion.

II. Section 2255 Motion

       Petitioner argues in the instant § 2255 motion that his conviction should be vacated,

because this Court lacks jurisdiction over him. In support of this contention, Petitioner cites the

Eleventh Circuit’s opinion in United States v. Bellaizac-Hurtado, 700 F.3d 1245 (11th Cir.

2012). However, because his motion is untimely and lacks merit, it must be denied.

       The Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”) “established a

mandatory, one-year ‘period of limitation’ for § 2255 motions, which runs from the latest of the

following events:

       (1)     the date on which the judgment of conviction becomes final;
       (2)     the date on which the impediment to making a motion created by
               governmental action in violation of the Constitution or laws of the United
               States is removed, if the movant was prevented from making a motion by
               such governmental action;

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        (3)    the date on which the right asserted was initially recognized by the
               Supreme Court, if that right has been newly recognized by the Supreme
               Court and made retroactively applicable on collateral review; or
        (4)    the date on which the facts supporting the claim or claims presented could
               have been discovered through the exercise of due diligence.

Jones v. United States, 304 F.3d 1035, 1037-38 (11th Cir. 2002) (citing 28 U.S.C. § 2255(f)(1)-

(4)).

        Petitioner was sentenced and judgment was entered on June 19, 2008. Petitioner did not

appeal his conviction, and as such, his conviction became final when the time for filing an appeal

expired. Therefore, his conviction became final in 2008.

        Pursuant to 28 U.S.C. § 2255(f)(1), Petitioner had one year from the date that his

conviction became final within which to file his § 2255 motion. Petitioner’s § 2255 motion was

not filed until April of 2013. As such, Petitioner’s motion is time-barred unless Petitioner can

show that he is entitled to a later filing date pursuant to 28 U.S.C. § 2255(f)(2) - (4). To the

extent that Petitioner relies on the Eleventh Circuit’s November 6, 2012 opinion in United States

v. Bellaizac-Hurtado to restart the one-year limitations period, such an argument is rejected.

Because the Bellaizac-Hurtado opinion is an opinion of the Eleventh Circuit, and not an opinion

of the Supreme Court, it cannot serve as a basis to restart the one-year limitations period. See

Vargas v. U.S., 2013 WL 424362, at *1 (M.D. Fla. Feb. 4, 2013).

        Even if Petitioner’s motion was timely, it would still be denied on the merits, because

Petitioner’s reliance on Bellaizac-Hurtado is misplaced. In that case, a panel of the Eleventh

Circuit ruled, in an unpublished opinion, that the Maritime Drug Law Enforcement Act, 46

U.S.C. §§ 70503(a) and 70506, was unconstitutional as applied to the drug-trafficking activities

of the defendants in that case, which occurred in the territorial waters of Panama. See Bellaizac-


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Hurtado, 700 F.3d at 1258. The panel reasoned, “[b]ecause drug trafficking is not a violation of

customary international law, . . . Congress exceeded its power, under the Offences Clause [of the

U.S. Constitution] when it proscribed the defendants’ [drug trafficking] conduct in the territorial

waters of Panama.” Id.

        Bellaizac-Hurtado is factually distinguishable from the instant case because it concerns

Congress’s ability to proscribe drug-trafficking activity in territorial waters. In his § 2255

motion, Petitioner argues that he was on a vessel that was “in the territorial waters of Panama.”

(CV Doc. No. 1). However, Petitioner did not contest the facts in his plea agreement that he was

arrested in international waters, approximately sixty nautical miles southwest of Isla de Coiba,

Panama. (CR Doc. No. 24, p. 12-13). As explained by the Eleventh Circuit, the United States

generally recognizes the territorial waters of foreign nations up to twelve nautical miles adjacent

to their coasts:

                   In United States v. Marino–Garcia, we concluded that “international
                   law permits any nation to subject stateless vessels on the high seas to
                   its jurisdiction,” and, consequently, that “all persons aboard vessels
                   engaged in drug trafficking that [fail] to unmistakably accede to the
                   authority of a single sovereign while traversing the high seas [are]
                   subject to the criminal jurisdiction of the United States.” 679 F.2d
                   1373, 1383–84 (11th Cir.1982); see also 33 C.F.R. § 2.05–1 (defining
                   “high seas” (with exceptions not relevant here) as “all waters which
                   are neither territorial seas nor internal waters of the United States or
                   of any foreign country”); 33 C.F.R. § 2.05–5(b) (defining “territorial
                   seas” of foreign countries as “waters within the belt that is adjacent
                   to its coast and whose breadth and baseline are recognized by the
                   United States”). The United States generally recognizes the territorial
                   seas of foreign nations up to twelve nautical miles adjacent to
                   recognized foreign coasts. See United States: Proclamation on an
                   Exclusive Economic Zone, 22 I.L.M. 461, 462 (March 10, 1983)
                   (“The United States will respect only those territorial sea claims of
                   others in excess of 3 nautical miles, to a maximum of 12 nautical
                   miles, which accord to the U.S. its full rights under international law
                   in the territorial sea.”); United States Ocean Policy, Statement by

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               President Reagan, 22 I.L.M. 464, 464 (March 10, 1983) (“[T]he
               United States will recognize the rights of other states in the waters off
               their coasts, as reflected in the [United Nations Convention on the
               Law of the Sea], so long as the rights and freedoms of the United
               States and others under international law are recognized by such
               coastal states.”); see also United Nations Convention on the Law of
               the Sea, Dec. 10, 1982, 21 I.L.M. 1245, 1272, Part II § 2, Art. 3
               (“Every State has the right to establish the breadth of its territorial sea
               up to a limit not exceeding 12 nautical miles, measured from
               baselines determined in accordance with this Convention.”).

U.S. v. McPhee, 336 F.3d 1269, 1273 (11th Cir. 2003)(footnotes omitted). Therefore, if

Petitioner was sixty nautical miles southwest of Isla de Coiba, Panama, he was not in territorial

waters, but instead, he was in international waters.

III. Conclusion

       Bellaizac-Hurtado is factually distinguishable and does not support Petitioner’s argument

that his conviction should be vacated. Petitioner’s motion is untimely, and as such, his § 2255

motion to vacate his sentence is DISMISSED. The Clerk is directed to close the civil case.


                      CERTIFICATE OF APPEALABILITY AND
                   LEAVE TO APPEAL IN FORMA PAUPERIS DENIED

       IT IS FURTHERED ORDERED that Petitioner is not entitled to a certificate of

appealability. A prisoner seeking a motion to vacate has no absolute entitlement to appeal a

district court's denial of his motion. 28 U.S.C. § 2253(c)(1). Rather, a district court must first

issue a certificate of appealability (“COA”). Id. “A [COA] may issue . . . only if the applicant

has made a substantial showing of the denial of a constitutional right.” Id. at § 2253(c)(2). To

make such a showing, Petitioner “must demonstrate that reasonable jurists would find the district

court’s assessment of the constitutional claims debatable or wrong,” Tennard v. Dretke, 542

U.S. 274, 282 (2004) (quoting Slack v. McDaniel 529 U.S. 473, 484 (2000)), or that “the issues

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presented were ‘adequate to deserve encouragement to proceed further,’” Miller-El v. Cockrell,

537 U.S. 322, 335-36 (2003) (quoting Barefoot v. Estelle, 463 U.S. 880, 893 n. 4 (1983)).

Petitioner has not made the requisite showing in these circumstances. Finally, because Petitioner

is not entitled to a certificate of appealability, he is not entitled to appeal in forma pauperis.

        DONE AND ORDERED at Tampa, Florida, this 22nd day of April, 2013.

Copies to:
Counsel of Record
Pro Se Petitioner




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